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          EXHIBIT B-4
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Re: I painted the floor
From:
Alexander Green <alexandergreen22@gmail.com>
To:
Pamela Frame <pamela.frame@gmail.com>
Date:
Thu, 24 Jan 2008 14:54:59 -0500

Haywood's dad is buying him a new one and mailing it down here, (whatever, the other one is fixable but i don't care). I'll
probably be home die 30tli, which is a Wednesday I believe. I can get the papers then. Gotta ran.

Alex-

On Jan 24, 2008 2:49 PM, Pamela Frame <painela.frame4Tgmail.com> wnote:
 Tlianlcs, Ale.xander. Wliat a sweet note. Yes, my savings. 1 guess between normal e.xpenses, giving Cliipp some money and
 buying the new' computer and now needing a car. tilings just accelerated. I'm sure 1 can malce it for a few montlis, but I
 must find a job/rent a room/sell a cello or some combination of those. I can't drag my feet forever. It is discouraging that I
 have to have hand surgerj'—makes it hard to just imagine having a job right now...

  Can you take an online class'? Would you like that'? I think Charlie liked it.

  What about mailing you this pile of papers? Address?
  What day are you coming home?
  Did you get the printer to work?

  XX
: Mom

  Charlie just got home so I'll go to die post office and drug store to print some photos.


  On Jan 24, 2008, at 2:35 PM, Alexander Green wrote:

          I've been trying to get in touch m idi her but she doesn't call me back. I'll be home on die 31st and I'm dy ing
          to get an appoindnent with her.

          I'm fine, Mom, you don't need to wony about me. If I wasn't okay I'd move home and we'd figure
          sometliing else out. I am wonied about you, hoivever-please don't stress yourself out more by wonydiig
          about me so much.

          When you say you are almost out of money, do you mean all of your savings? I don't want you to lose the
          house, and if it means I have to move home to help pay for expenses and save money I will do that. What
          other ideas do you have as far as jobs? I know it ivoidd be very* difficult but would job prospects be better
          out of town? Let me know if there's anything I can do to help you. I really don't want you to liave to worry'
          about everything all at once. I'm going over to city college now to try' and sign up for a few classes.

          Love,
          Alex




          On Jan 24, 2008 1:51 PM, Pamela Frame <pamela.frame@gmail.com.> wrote:
          ; Honey, she did not refuse to correct it. She said you should contact her, I was ciying tlirough most of tliis
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; conversation. Unless you have talked with her or gotten a message tliat says she will not cliange it don't
; assmne tliat. Have you heard from her? I tliink you are angrv" with her and I imderstaiid that but it might
: be based on some assumptions (wlrich 1 understand) but wliich 1 think might not be accurate. 1 certainly
! didn't understand from tlie news in your chart "Get a new doctor" that she thought you would call her, but
; she did say tliat.

i You can fax a nice, brief letter to her., .ask whetlier you can make an appt, tell her ivhen you'll be home,
  whether you are going to be taking classes tliis semester, etc.

; When are you coming home? I have a stack of mail for you which needs attention, and I don't know
: whether to send it or not.

11 guess 1 told you tliat 1 don't have a car, 1 can't remember. The Saturn is D - E - A - D, and 1 have to go
s buy a car. 1 am ruiming out of money...so it's a little depressing. I'm just telling you tliat so tliat you know
; my state of mind, not that there's anytliing for you to do about it. I hope I can find a job soon. I'il figure
^ out another way of looking - wliat I've been doing has not been working! I!

: Love you always,
‘ Mom




 On Jan 24, 2008, at 1:14 PM. Ale.xander Green wrote:

         Also, just so you know, I remember talking about tliis, but it makes no sense for her to
         write the wrong prescription and then refuse to correct it because she is worried I might
         sell it or be accused of selling it. Tliat is tlie issue—the fact tliat she already wrote me one
         prescription and that it w as just wrong! You don't have to fix tliis it's not your problem, I
         just wanted to clarify.

         love ymu,
         Alex

         On Jan 23, 2008 11:47 AM, Pamela Frame <Damela■:frame@gmail■com> wrote:
          i Alexander,
            We talked about tliis. She can lose her license (career) if she dispenses a controlled
          ’ substance without seeing the patient on a 'regular' basis. You have to be in touch w ith
            her if you want to w ork tliis out. I can't work tliis out and it's veiy upsetting. I don't
            tliink it has any tliing to do with her being considerate or not.

            Call me if you want to talk about it.
            You need health insurance in order to be seeing doctors, getting your meds, etc. You
            can apply for Medicaid in NY or here, wliatever you decide to do, I tliink your expenses
            are too liigli to manage all of this and it w orries me.

            I love you.



            On Jan 22, 2008, at 11:11 PM, Alexander Green wrote:

                     okay, thanks. That's really not very considerate of her at all. 1 don't get it.
                     If she was willing to w rite me one, why not the correct one?
                     I'll tw to schedule an apt. witli her on the 31st,

                     love Alex

                     On Jan 22, 2008 11:08 PM, Pamela Frame <pamela.frame@gmail.com >
                     wrote;
                      f No, she didn't write a new' one. You need to talk to her, or get a new'
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            ■ doctor, or I don't know wliat. I didn't fill it b/c it's too expensive. I told
            ; her about it when I was at an appt.

             I don't have a car so I can't do anything about it. I'm sony.

             Love,
            ■Mom


             On Jan 22, 2008, at 10;41 PM, Alexander Green wrote;

                     1 like tlie floor! It's pretty. What's up with adderall
                     script? Did Gupta write me a new one? I'm almost out.
                     Alex

                     On Jtm 22, 2008 7:23 PM, Pamela Frame <
                     pame!a-frame.;g,gmail.com> wrote:
                      ■ Charlie likes it...l like it a lot better titan tlie nasty
                        linoleum.



                       ; <IMG_0344_3.jpg> <IMG_0351.jpg>
